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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                            FORT WAYNE DIVISION

EMMA WILSON, HANNAH STOFFEL        )
                                   )
          Plaintiffs,              )
                                   )
     v.                            )                    No.
                                   )
NICHOLAS JOHNSON, HUNTINGTON       )
UNIVERSITY, HUNTINGTON UNIVERSITY. )
BOARD OF TRUSTEES, LAUREN JOHNSON, )
CURTIS HINES , John Does 1-50      )
          Defendants.              )
                                   )


         COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

      The following is the Complaint of two former student athletes at Huntington

University who were victims of a coach and his supporters that gave Larry Nassar-

esque massages all the while acting like Lance Armstrong’s Tour de France pharmacist

injecting unknown substances into their bodies. His name is Nicholas Johnson and he

should be in prison. Nicholas Johnson and his co- defendants have been destroying the

lives of young students and runners in Northern Indiana for years, today Plaintiffs take

a stand to stop him and his enablers.

                           JURISDICTION AND VENUE

   1. This Court has jurisdiction pursuant to 28 USC 1331 and 28 USC 1367.

   2. Venue is proper in this Court under 28 USC 1391 because all incidents, events,

      and occurrences giving rise to the allegations in this complaint occurred or

      originated in the Northern District of Indiana.




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  3. This Court has jurisdiction pursuant to 28 USC 1332 as the amount in

     controversy exceeds $75,000 exclusive of interest, costs, and attorney fees.

                                 THE PARTIES

  4. Plaintiff Emma Wilson is a natural person residing in Terre Haute, Indiana.

  5. From August 2020 until May 2021 Emma Wilson was a student at Huntington

     University.

  6. From August 2020 until May 2021 Emma Wilson was a runner on the

     Huntington University Cross Country and Track Teams.

  7. While enrolled at Huntington University Emma Wilson was one of the top

     collegiate distance runners in the United States.

     http://www.huntingtoncountytab.com/sports/59018/hu-runner-emma-wilson-

     just-shy-automatic-olympic-trial

  8. Emma Wilson can be served via the undersigned counsel.

  9. Plaintiff Hannah Stoffel is a natural person currently residing in Bloomington,

     Indiana.

  10. Hannah Stoffel was a student at Huntington University

  11. Hannah Stoffel was a member of Huntington University Track and Cross

     Country teams.

  12. Hannah Stoffel was an NAIA National Champion in track and cross country and

     Huntington in November of 2019 and March of 2020.

  13. Hannah Stoffel can be served through the undersigned counsel.




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  14. Defendant Nicholas Johnson is a natural person currently residing in the

     Northern District of Indiana.

  15. From 2018 until his arrest in December 2020 Nicholas Johnson was the head cross

     country and assistant track coach at Huntington University.

  16. Defendant Nicholas Johnson is the husband of Defendant Lauren Johnson.

  17. Nicholas Johnson can be served at 411 Edith Blvd, Huntington, IN 46750.

  18. Defendant Lauren Johnson is a natural person residing in the Northern District

     of Indiana.

  19. Defendant Lauren Johnson is the wife of Nicholas Johnson.

  20. Defendant Lauren Johnson is herself a world class runner who has represented

     the United States in international competition.

  21. Defendant Lauren Johnson was an assistant cross country and track coach at

     Huntington University from 2018 until her husband’s arrest in December 2020.

  22. After he husband’s arrest Lauren Johnson became the Head Cross Country

     Coach at Huntington University.

  23. Defendant Lauren Johnson is currently the Head Cross Country Coach at

     Huntington University.

  24. Defendant Lauren Johnson can be served at 411 Edith Blvd, Huntington, IN

     46750.

  25. Defendant Curtis Hines is a natural person residing in the Northern District of

     Indiana.




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  26. At all relevant times Curtis Hines was and currently is an Assistant Cross

     Country and Track Coach at Huntington University.

  27. Defendant Curtis Hines can be served at 6071 N 250th E, Huntington, IN, 46750.

  28. Defendant Huntington University is a “Christian” University in Northern

     Indiana.

  29. Defendant Huntington University receives monetary assistance from the United

     States Government, making it subject to Title IX (20 USC § 1681) regulations.

  30. From 2018 to December 2020 Huntington University employed Defendant

     Nicholas Johnson as the track and cross-country coach.

  31. From an unknown time until the present, Defendant Huntington University

     employed Defendants Lauren Johnson and Curtis Hines, as assistant track and

     cross-country coaches.

  32. Huntington University can be served at 2303 College Avenue Huntington,

     Indiana 46750.

  33. Huntington University Board of Trustees can be served at 2303 College Avenue

     Huntington, Indiana 46750.

  34. John Does 1-50 are as of yet unknown administrators, and Board of Trustee

     members of Huntington University who knew or should have known about

     Nicholas Johnson’s conduct.

                                 GENERAL ALLEGATIONS

     a. The Johnson Coaches and Their Professional Running History




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    35. This case is based on the systematic doping program instituted by the Johnson

       Defendants during their coaching tenure at Huntington University.

    36. However, the doping program at the heart of the allegations in this complaint

       originated years earlier in Oregon.

    37. Nicholas and Lauren Johnson are husband and wife.

    38. They were hired by Huntington in 2018 to coach the cross country and track

       program.

    39. Nicholas was hired as the head coach of both the men’s and women’s cross

       country and as an assistant coach of the track program.

    40. Lauren Johnson was hired as an assistant coach for both men and women’s cross

       country and track.

    41. Prior to being hired at Huntington University, Nicholas Johnson was an assistant

       coach with the world-renowned Nike Oregon Track Club (OTC) in Eugene,

       Oregon.

    42. Prior to returning to her alma matter, Lauren Johnson1 was a runner for the OTC.

    43. While Lauren Johnson was a member of the OTC, the OTC was coached by

       renowned British Coach (and 1988 Olympic medalist) Mark Rowland.

    44. Despite being relatively old2, in 2014 and 2015, Ms. Johnson made rapid and

       massive improvements in the middle distance events of 800 and 1,500 meters—

       her primary events.



1NicholasNicholas and Lauren are both alumni of Huntington University.
2
 Upon information and belief, Lauren Johnson was born May 4, 1987:
https://worldathletics.org/athletes/united-states/lauren-johnson-14335068


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  45. Ms. Johnson qualified for the United States World Championships Team in the

     1,500 meters in 2015.

  46. She competed in the 2015 World Athletics Championships in Beijing, China.

  47. She did not qualify for the 1,500-meter final in Beijing.

  48. Lauren Johnson was kicked out of the Oregon Track Club before returning to the

     United States from Beijing.

  49. At the same time Nicholas Johnson was fired from the Oregon Track Club.

  50. While in Oregon, Nicholas Johnson developed close contacts with the Nike

     Oregon Project (NOP).

  51. The NOP was one of the most elite distancing running groups in the world.

  52. 2012 and 2016 Olympic Medalists Galen Rupp and Mo Farrah were members of

     the NOP.

  53. At all relevant times, the NOP was coached by disgraced coach Alberto Salazar.

  54. Nicholas Johnson often bragged about his relationship and connections with

     Alberto Salazar.

  55. Plaintiffs need to conduct discovery to determine the extent of the Salazar –

     Johnson relationship.

  56. The doping program instituted at Huntington University by Nicholas and

     Lauren Johnson is, however, strikingly similar to the doping program exposed at

     the NOP.




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    57. In 2015, the British Broadcasting Company (BBC) and ProPublica exposed

        systematic and organized doping at the NOP. https://www.bbc.com/news/uk-

        scotland-32877702

    58. Alberto Salazar3 was subsequently banned by the United State Anti-Doping

        Agency (USADA4) and the World Anti-Doping Administration for four (4) years

        for the conduct exposed by the BBC.

    59. USADA alleged and it was found that Alberto Salazar impermissibly

        administered infusions/injections, trafficked testosterone, and tampered with

        USADA’s administration of doping control program/investigation. 5

    60. Upon information and belief, Nicholas Johnson was introduced to Alberto

        Salazar while his wife, Lauren Johnson, was at OTC.

    61. Alberto Salazar was the coach of 2008 Olympian Amy Yoder Begley, a native of

        Northeastern Indiana.

    62. Amy Yoder Begley and her husband, Sheldon Andrew Begley, are friends of

        Nicholas and Lauren Johnson, all of whom are natives of Northeastern Indiana.

    63. Sheldon Andrew Begley was a witness for USADA in USADA’s doping case

        against Alberto Salazar.

    64. The Begleys served to connect the Johnsons to the professional track scene in

        Oregon, including OTC and NOP.




3
  Alberto has since been banned from track and field for life by the Center For Safe Sport in the United
States for inappropriate sexual conduct with his runners.
4
  https://www.usada.org/wp-content/uploads/Salazar-AAA-Decision.pdf
5
  https://www.usada.org/wp-content/uploads/Salazar-AAA-Decision.pdf


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    65. Upon information and belief, Nicholas Johnson instituted a doping program

        similar to the program utilized at the NOP upon his arrival at Huntington

        University.

    66. Upon information and belief while in Oregon Lauren Johnson took:

            a. L’carnitine6 infusions/injections

            b. Other substances to be discovered during the course of this litigation

    67. Lauren Johnson leveraged Therapeutic Use Exemptions (TUEs) in order to take

        medically unnecessary substances to improve her athletic performance.

    68. Nicholas Johnson’s connections to the organized doping of the NOP were

        publicly discoverable in 2018 when Huntington University hired him.

    69. Lauren Johnson’s connections to the NOP were publicly discoverable in 2018

        when Huntington University hired her.

    70. In fact, in 2017 THE NEW YORK TIMES wrote a detailed account of the doping

        program implemented at the Nike Oregon Project:

        https://www.nytimes.com/2017/05/19/sports/nike-oregon-project-alberto-

        salazar-dathan-ritzenhein.html

    71. Huntington University and Curtis Hines both knew or should have known about

        the doping program at the NOP.




6
 L Carnitine is a naturally occurring substance in the body; synthetically it is a permitted substance if
taken in doses of less than 100ml in a 12-hour period. The method upon which the L’Carintine is
introduced into the body is also a vital consideration as to whether its use is permitted by the World Anti-
Doping Administration. https://www.independent.co.uk/sport/general/athletics/mo-farah-lcarnitine-usada-
doping-agency-latest-news-a9367071.html


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   72. Sadly, instituting a doping program similar to the program utilized at the NOP

      wasn’t the only vice brought to Huntington by the Johnsons.

     b. Nicholas Johnson’s Predatory Behavior Continues and the University,

Lauren Johnson, and Curtis Hines Turn a Blind Eye

   73. Nicholas Johnson had sexual contact with multiple students on the Huntington

      University Cross Country and Track and Field teams.

   74. Nicholas Johnson had sexual contact with at least one child in Northern Indiana.

   75. Nicholas Johnson is also serial sexual predator who used (and upon information

      and belief still uses) his position of power and authority to sexually exploit the

      children and women he coaches.

   76. Lauren Johnson actions and/or inactions have enabled Nicholas’ sexually

      predatory behavior.

   77. Lauren Johnson knew that Nicholas Johnson was having sex with Hannah Stoffel

      by September 2020, at the latest.

   78. Nicholas Johnson began confiding in Hannah telling her that he was being

      physically abused by Lauren Johnson.

   79. Nicholas Johnson told Hannah that Lauren was bipolar and would beat him.

   80. Nicholas Johnson told Hannah that Lauren did not want to have children and

      that he did.

   81. In July of 2020, Plaintiffs were living together in an apartment arranged by

      Nicholas Johnson.




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   82. One night Hannah informed Nicholas that the key to her exterior lock was

      sticking.

   83. Nicholas Johnson said Hannah should leave the door unlocked.

   84. Nicholas Johnson raped Hannah Stoffel on several occasions from July 2020

      through November 2020.

   85. Nicholas Johnson told Hannah that he would come over that night and give her a

      massage.

   86. Hannah Johnson informed Nicholas Johnson she did not need or want a massage

      and went to bed.

   87. Later that night Nicholas got into Hannah’s bed and began touching her legs and

      buttocks.

   88. Hannah told Nicholas Johnson “no” and to “stop’’ and that she did not want or

      need a massage.

   89. Nicholas Johnson continued to batter Hannah.

   90. Nicholas Johnson then put his fingers inside Hannah’s vagina.

   91. Hannah began to cry and Mr. Johnson left her apartment.

   92. The sexual batteries of Hannah soon escalated.

   93. Nicholas Johnson would psychologically torture Hannah, including but not

      limited to:

         a. Mr. Johnson drove Hannah to the scene of childhood trauma,

         b. Mr. Johnson repeatedly told Hannah that she had never been loved, and




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          c. Mr. Johnson repeatedly told Hannah that he was the only one who loved

             her and that he and he alone could help her achieve her dreams of

             competing in the Olympic trials

   94. Often after emotional traumatizing and breaking Hannah down, Nicholas

      Johnson would force Hannah to sexually service him.

   95. Defendants Lauren Johnson, Curtis Hines, Huntington University, and John

      Does knew that Hannah was spending time alone with Nicholas Johnson.

   96. Curtis Hines and Lauren Johnson knew that Johnson often isolated the female

      members of the Huntington team for “treatments”.

   97. Nicholas Johnson would isolate Hannah under the guise of her needing

      “treatment” and molest her.

   98. From July 2020 through November 2020 Nicholas Johnson used physical force,

      coercion, threats, and promises to obtain sexual services from Hannah.

   99. Nicholas Johnson put his finger or fingers in Hannah’s vagina while he was

      giving her “massages” in front of her other teammates.

   100.      Nicholas Johnson on several occasions had sexual intercourse with

      Hannah despite her repeated statements that she did not want to engage in

      sexual intercourse with him.

   101.      Nicholas Johnson told Hannah that his conduct was not sexual, that he

      was merely teaching her how to love and be intimate.

   102.      Hannah became concerned that Nicholas would try and get her pregnant.




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   103.      In September 2020, a high school runner, who was also having sexual

      contact with Nicholas Johnson discovered sexual text messages from Nicholas

      Johnson to Hannah on Nicholas Johnson’s phone.

   104.      Upon information and belief, that high school runner either told Lauren

      Johnson that Nicholas was having sex with Hannah or that if Nicholas did not

      inform his wife, she would tell her. Johnson subsequently informed his wife.

   105.      In the summer of 2020, parents of Huntington High School athletes

      informed John Doe Defendants at Huntington that they were concerned about

      the flow of high school girls into and out of the Johnson home.

   106.      Defendants Huntington University and John Does took no action on the

      concerns of these parents.

   107.      By September 2020, Lauren Johnson knew that Nicholas was engaged in

      sexual activity with Hannah Stoffel.

   108.      Despite talking to Hannah directly about the sexual activity between her

      and husband Lauren Johnson took no steps to protect Hannah Stoffel.

   109.      In November 2020, Nicholas Johnson asked Hannah to meet him upstairs

      at the Huntington Sports Plex to treat her sore calf.

   110.      Upon arriving upstairs to meet Johnson, Hannah noticed that the lights

      were out and quickly realized that Johnson was planning on sexually assaulting

      her again.

   111.      Hannah said her calf did not need treatment.

   112.      Nicholas Johnson began massaging calves despite Hannah’s protest.




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   113.      Nicholas Johnson soon began touching and rubbing Hannah’s vulva

      under her shorts, skin to skin.

   114.      Hannah asked Nicholas Johnson to stop and Johnson continued.

   115.      Hannah cried and turned up her headphones and endured another

      battery at the hands of Johnson.

   116.      Defendants Huntington University, Lauren Johnson, and Curtis Hines

      and John Does allowed Johnson to meet with his female athletes alone.

   117.      Defendants Huntington University, Lauren Johnson, and Curtis Hines

      and John Does knowingly allowed Nicholas Johnson to massage athletes,

      including female athletes alone.

   118.      Defendants Huntington University, Lauren Johnson, and Curtis Hines

      and John Does knew Nicholas Johnson was not an athletic trainer or medical

      doctor, or nurse, or physical therapist.

   119.      Defendants Huntington University, Lauren Johnson, and Curtis Hines

      and John Does knew Nicholas Johnson had no medical credentials.

   120.      At the same time of the raping and battering of Hannah Stoffel, Nicholas

      Johnson was having sex with another runner on the Huntington University

      Cross Country and/or Track team, as well as having sexual contact with a minor

      high school runner.

   121.      In December 2020, Nicholas Johnson was arrested for sexually exploiting a

      minor female Indiana high school runner.




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      https://www.indystar.com/story/sports/2020/12/14/huntington-track-coach-

      Nicholas-johnson-charged-child-seduction-kidnapping/6548137002/

   122.         That minor high school runner was the same runner who discovered the

      sexual texts to Hannah on Nicholas Johnson’s phone in September 2020.

   123.         Between August 8, 2020, and December 2, 2020, Nicholas Johnson used his

      finger to “penetrate the sex organ of a child with whom he had a ‘professional

      relationship’”




   124.         Huntington University fired Johnson in December 2020 shortly after his

      arrest.




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   125.     After Mr. Johnson’s firing from Huntington University, the members of

      the Cross Country team, including the Plaintiffs, were told to write down

      positive thoughts regarding what Mr. Johnson means to them.

   126.     In February 2022 Nicholas Johnson eventually pled guilty to identity

      deception and received 30 days in jail, and 2 years of home detention.

   127.     Despite numerous concerns from some track team members and parents

      of the students, Huntington University named Lauren Johnson as the

      replacement head coach for her husband.

   128.     Huntington University was aware that Nicholas Johnson was still living

      with Lauren Johnson.

   129.     Upon information and belief, after his firing, Nicholas Johnson continued

      to and still provides workouts to the runners at Huntington University.

   130.     Through the 2021-2022, while on home detention, Nicholas “advised”

      runners, including minor runners in Northern Indiana.

   131.     Students on the Huntington University Cross Country Team were told by

      Huntington University staff members they could visit the Johnson home, and

      specifically Nicholas, for running advice and camaraderie.

   132.     Further, many students on the Huntington University Cross Country

      Team would then visit the Johnson home, for running advice and camaraderie.

   133.     Nicholas Johnson has maintained direct and/or indirect contact with the

      minor victim in the criminal complaint against him.




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   134.      Hannah shared her story, both written and orally, with the Huntington

      Police Department.

   135.      Neither the Huntington Police Department, nor the United States

      Attorney office for the Northern District of Indiana have taken any action against

      Nicholas Johnson for raping Hannah.

   136.      No law enforcement agency has taken any action against Johnson for

      infusing/injecting his athletes including both Plaintiffs with unknown

      substances without their informed consent.

   137.      While Nicholas Johnson coached at Huntington University, he created a

      training and learning environment that was hostile to female members of the

      Huntington Track and Cross Country programs.

   138.      Defendants Hines, Huntington, and Lauren Johnson were deliberately

      indifferent toward the hostile environment Nicholas Johnson was fostering.

   139.      After races, Nicholas Johnson would take the female runners, including

      the Plaintiffs, on individual runs to isolated places at or near the cross country

      course and press his body against theirs.

   140.      Johnson rubbed his body against his female athletes, including both

      Plaintiffs under the guise of “hugging” them for good performances.

   141.      On several occasions, in the fall of 2020 Plaintiffs were subject to these

      runs and their corresponding batteries.

   142.      Upon information and belief, male athletes were not subject to these

      individual runs, or “hugs” that occurred on them.




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   143.      Moreover, Nicholas Johnson had graphic sexual conversations with the

      female runners on his team.

   144.      Plaintiff Emma Wilson recalls one isolated conversation with Nicholas

      Johnson where he specifically described his own personal experience about his

      first sexual intercourse.

   145.      This conversation made the Emma feel extremely uncomfortable, but she

      felt that she could not tell him to stop for fear of reprisal.

   146.      Defendants Lauren Johnson, Hines, John Does and Huntington University

      were aware of these conversations but did nothing to stop them.

   147.      Nicholas Johnson had female members of the team, including Plaintiffs,

      live with him in his basement.

   148.      Defendants Hines, Huntington University, John Does and Lauren Johnson

      (obviously) were aware that females from the Huntington University Cross

      Country team were living with Johnson but did not nothing to disrupt this

      apparent troubling behavior.

   149.      Nicholas Johnson provided medical “treatments” to the runners at

      Huntington University – just like Larry Nassar.

   150.      Nicholas Johnson verbally justified to Hannah Stoffel the criminal actions

      of the now convicted Larry Nassar.




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   151.      These treatments included the massaging of the sex organs of female

      athletes including children:




   152.      Defendant Lauren Johnson knew that Nicholas Johnson was massaging

      the breasts of Victim 1 yet did nothing to stop victim 1 molestation.

   153.      Defendant Lauren Johnson knew that Nicholas Johnson was massaging

      the breasts of the female members of the Huntington University Cross Country

      team as part of his treatments yet did nothing to stop it.

   154.      On at least one occasion Nicholas Johnson had Hannah put her hands

      over her nipples while he massaged her breasts in front of Hannah’s then

      boyfriend a male member of the Huntington Cross Country Program.

   155.      Defendant Hines and Lauren Johnson were both aware of these breast

      massages but did not intervene and took no action to protect the athletes they

      coached.

   156.      Defendant Lauren Johnson knew that Nicholas Johnson was providing

      “treatments” at their shared home to the women he coached, but did nothing to

      stop it.

   157.      Defendants Hines and Johnson were also aware that Nicholas Johnson

      was “treating” women and girls at his home but did nothing to stop it.




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    158.        Nicholas Johnson also “treated” the women and girls he coached on the

        campus of Huntington University.

    159.        Defendants John Does, Huntington University, Lauren Johnson, and

        Curtis Hines, all knew that Johnson was providing “treatments” alone to female

        athletes.

        c. The Johnsons Bring the Doping Program to Huntington

    160.        In the summer of 2019, Nicholas Johnson invited select members of the

        cross country team as well as assistant coaches to a meeting about his

        performance enhancing drugs.

    161.        Hannah attended this meeting.

    162.        Nicholas Johnson stated that he was conducting a “study” or

        “experiment” endorsed by Nike and Huntington University’s athletic director,

        Dr. Lori Culler.

    163.        He further stated that select members of the team would receive injections

        and that they had to sign a non-disclosure agreement.

    164.        Curtis Hines said he was participating and signed the agreement which

        helped Nicholas Johnson recruit his selected athletes.

    165.        Nicholas Johnson also told Hannah and her fellow study participants that

        the NAIA7 had approved of the study.

    166.        Hannah started receiving the infusions/injections in 2019 along with some

        of her teammates.


7
 National Association of Intercollegiate Athletics – Huntington University is a member of the Kansas
City, Missouri based organization.


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   167.      In 2019 Nicholas Johnson infused/injected Plaintiff Stoffel with an

      unknown substance at the US Championships in Des Moines, Iowa.

   168.      In Iowa, Nicholas Johnson told Hannah Stoffel that Lauren Johnson

      received the same substances.

   169.      Hannah is not sure what substance she was infused/injected with on a bi-

      weekly basis.

   170.      Questions about the validity of the “study” began to surface by the end of

      the summer of 2019.

   171.      Nicholas Johnson became angry when another athlete told his parents

      about the infusions/injections and the alleged study.

   172.      Nicholas Johnson’s anger scared Hannah out of confronting him more

      aggressively about the study.

   173.      Nicholas Johnson also repeatedly rubbed unknown substances on both

      Plaintiffs.

   174.      On several occasions, Nicholas Johnson would rub Icy Hot on Plaintiff

      Emma Wilson after practice.

   175.      On other occasions, Nicholas Johnson would conduct massage treatments

      on the Emma Wilson using an unknown substance(s).

   176.      Similar to Emma Wilson’s experience Hannah Stoffel had unknown

      substances, in addition to what she believes coco butter, massaged into her body

      by Nicholas Johnson.




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   177.      Johnson’s “treatments” were not just limited to batteries during massages,

      but also included infusing/injecting his athletes with unknown substances as

      well as giving out pills.

   178.      Johnson committed battery by infusing/injecting Emma Wilson with yet

      to be determined substances on at least three occasions in July, October, and

      November 2020.

   179.      These infusions/injections of Emma occurred both at Johnson’s home and

      Huntington University’s campus.

   180.      At one point, the Emma’s knee began to hurt and Mr. Johnson gave her an

      unknown pill in a plastic bag and stated that “it was stronger than ibuprofen and

      that it would help with the inflammation.”

   181.      The Emma ingested the unknown pill because she trusted her coach.

   182.      It was well known to Hines, Lauren Johnson, and the Huntington

      University athletic department that Nicholas Johnson was providing

      “treatments” to the athletes he coached.

   183.      It was well known to all defendants that these treatments included

      infusions/injections of unknown substances.

   184.      On at least one occasion Hannah believes she was given the prescription

      drug Prednisone from Mr. Johnson.

   185.      Hannah recalls a particularly traumatic “treatment” in October 2020.

   186.      While recovering from a sore Achilles tendon Plaintiff got poison ivy.




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   187.      Nicholas Johnson told Hannah that her body could not both recover from

      her Achilles injury and subdue the poison ivy inflammation.

   188.      Nicholas Johnson took Hannah alone to a location in the Huntington

      Sports Plex.

   189.      Hannah told Nicholas Johnson that the poison ivy was under control from

      an over-the-counter cream.

   190.      Hannah told Nicholas Johnson she did not want any “treatment” from

      him.

   191.      Despite her protests, Mr. Johnson physically held Hannah and

      infused/injected her with four shots that he said he had obtained from his

      brother.

   192.      While he restrained her, Nicholas gave Hannah two shots in her lower

      back as well as over Hannah’s aggressive protests gave her two shots in the

      general area of her uterus.

   193.      It was known to all defendants that these treatments including massages

      and infusions/injections were performed on female team members by Nicholas

      Johnson.

   194.      It was well known to all defendants that these treatments included pills in

      clear plastic baggies of unknown substances to athletes.

   195.      Defendants Huntington University, Lauren Johnson, and Curtis Hines did

      nothing to stop the delivery of drugs or any of Johnson’s other treatments to the




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      athletes he coached or to the children with whom Johnson had a “professional

      relationship.”

   196.     Indeed, Curtis Hines actively promoted the athlete’s participation in this

      “study.”

   197.     The inactions and deliberate indifference of Defendants Curtis Hines,

      Lauren Johnson, and Huntington University allowed Johnson to batter Plaintiff

      and create an environment that hindered female students from fully

      participating the athletic program of Huntington University.

                                      COUNTS

            COUNT I: BATTERY (EMMA WILSON vs. NICHOLAS JOHNSON)

   198.     Plaintiff incorporates by reference the forgoing paragraphs as if set forth

      herein.

   199.     On at least three occasions in the fall of 2020, the last being in November

      of 2020, Nicholas Johnson infused/injected Emma Wilson with an unknown

      substance.

   200.     Nicholas Johnson told Emma Wilson that these infusions/injections were

      based on a prior “study” he had done.

   201.     Nicholas Johnson pressured Emma Wilson to receive these

      infusions/injections.

   202.     Nicholas Johnson gave Emma Wilson these infusions/injections to Emma

      under false pretenses.




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   203.     These infusions/injections occurred at the Johnson’s home and at the

      Huntington Sports Plex.

   204.     As a result of these batteries Emma Wilson has suffered physical harm.

   205.     As a result of these batteries Emma continues to suffer emotionally.

            COUNT II: BATTERY (EMMA WILSON vs. NICHOLAS JOHNSON)

   206.     Plaintiff incorporates by reference the forgoing paragraphs as if set forth

      herein.

   207.     On several occasions, Nicholas Johnson hugged and massaged the

      Plaintiff with an unknown substance(s) and without her consent.

   208.     The hugs and massages occurred on Huntington’s Campus and the

      Johnson’s home.

   209.     As a result of these batteries Emma continues to suffer emotionally.

          COUNT III: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                 (EMMA WILSON vs. NICHOLAS JOHNSON)

   210.     Plaintiff incorporates by reference the forgoing paragraphs as if set forth

      herein.

   211.     On several occasions, Nicholas Johnson hugged and massaged the

      Plaintiff with an unknown substance(s) and without her consent.

   212.     On three occasions, Nicholas Johnson infused/injected her with an

      unknown substance.

   213.     These actions constitute extreme and outrageous conduct, as his behavior

      goes beyond all possible bounds of decency.




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   214.      As a result of these batteries, Emma continues to suffer extreme emotional

      distress.

       COUNT IV: NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
                       (EMMA WILSON vs.
      DEFENDANTS LAUREN JOHNSON, CURTIS HINES, HUNTINGTON
 UNIVERSITY, HUNTINGTON UNIVERSITY BOARD OF TRUSTEES and JOHN
                       DOE DEFENDANTS)

   215.      Plaintiff incorporates by reference the forgoing paragraphs as if set forth

      herein.

   216.      On several occasions, Nicholas Johnson committed multiple batteries

      against the Plaintiff.

   217.      Defendants Lauren Johnson, Curtis Hines and Huntington University

      knew or reasonably should have known that Nicholas Johnson was engaging in

      this atrocious behavior.

   218.      Defendants Lauren Johnson, Curtis Hines, and John Does owed a specific

      duty to protect their student, Emma Wilson.

   219.      The Plaintiff was directly physically impacted by their negligence as she

      was battered by Nicholas Johnson.

   220.         As a result of their negligence, Hines, Lauren Johnson and Huntington

      University are the responsible cause for Ms. Wilson’s emotional distress.

   COUNT V: NEGLIGENCE (EMMA WILSON vs. DEFENDANTS LAUREN
 JOHNSON, CURTIS HINES, HUNTINGTON UNIVERSITY and HUNTINGTON
                 UNIVERSITY BOARD OF TRUSTEES)


   221.      Plaintiff incorporates by reference the forgoing paragraphs as if set forth

      herein.


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   222.       The Defendants Lauren Johnson, Curtis Hines and Huntington University

      owed a duty to Plaintiff as she was in their custody and control as a student and

      a member of the Cross Country Team.

   223.       All Defendants in this count were teachers, coaches, or administrators

      who owned Emma Wilson a duty of reasonable care.

   224.       The Defendants breached their duty in the following, non-exhaustive

      ways:

          a. failed to protect the Plaintiff from unwanted hugs from Nicholas Johnson,

          b. failed to protect the Plaintiff from unwanted and inappropriate massages

              from Nicholas Johnson,

          c. failed to protect the Plaintiff from receiving unknown

              infusions/injections,

          d. failed to protect the Plaintiff from receiving unknown pills.

   225.       Their negligence caused the Plaintiff physical pain and emotional distress.

       COUNT VI: VIOLATION OF TITLE IX (EMMA WILSON and HANNAH
     STOFFEL vs. HUNTINGTON UNIVERSITY, HUNTINGTON UNIVERSITY
           BOARD OF TRUSTEES AND JOHN DOE DEFENDANTS)

   226.       Plaintiffs re-alleges the preceding paragraphs of this Complaint as if set

      out fully herein.

   227.       At all relevant times, Defendant Huntington University received federal

      funding and assistance.

   228.       Upon information and believe Huntington students utilized Federal

      Student Loans (“FASA”) and Pell Grants.




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   229.     At all relevant times all Defendants were employees of Huntington

      University.

   230.     Due to the actions of Defendant Nicholas Johnson and the

      actions/inactions of Defendants Huntington University, their Trustees, John

      Does, Lauren Johnson and Curtis Hines, Plaintiffs suffered gender

      discrimination, sexual harassment, and sexual batteries.

   231.     Defendant Nicholas Johnson openly battered Plaintiffs with his

      treatments.

   232.     Defendant Nicholas Johnson openly sexually battered Plaintiffs, even

      going so far as to molest Hannah in front of her then boyfriend and unknown

      others on University property.

   233.     Defendant Nicholas Johnson’s inappropriate behavior was common

      knowledge amongst the John Does in the athletic department.

   234.     Defendant Nicholas Johnson’s behaviors were known to John Doe

      Defendants and to the Huntington University and their Trustees as well.

   235.     The physical, verbal, sexual, psychological and behavioral conduct by

      Defendant Nicholas Johnson was not consensual and sufficiently severe or

      pervasive from both a subjective and objective viewpoint such that the conduct

      had the purpose or effect of unreasonably interfering with the Plaintiffs’

      academic performances, or creating an intimidating, hostile or offensive

      environment for working, learning or living on campus.




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   236.      The environment created by Defendant Nicholas Johnson, John Does,

      Huntington University and their Trustees, Lauren Johnson and Curtis Hines was

      hostile including but not limited to the frequency of the conduct, the nature and

      severity of the conduct, the relationship between the parties, the location and

      context in which the conduct occurred, and the humiliating nature of the

      conduct.

   237.      Defendants Huntington University, their Trustees, John Does, Lauren

      Johnson and Curtis Hines had actual knowledge of Nicholas Johnson’s batteries

      of Plaintiffs.

   238.      Defendants Huntington University, their Trustees, John Does, Lauren

      Johnson and Curtis Hines all had the authority to take corrective measures to

      protect Plaintiffs.

   239.      Defendants Huntington University, their Trustees, John Does, Lauren

      Johnson and Curtis Hines were deliberately indifferent and took no action to

      protect Plaintiffs from Defendant Nicholas Johnson.

   240.      Defendants Huntington University, their Trustees, John Does actions

      constitute gender discrimination against Plaintiffs based on their sex.

     COUNT VII: BATTERY (HANNAH STOFFEL vs. NICHOLAS JOHNSON)

   241.      Plaintiff re-alleges the preceding paragraphs of this Complaint as if set out

      fully herein.




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   242.      On several occasions between July 2020 and the end of November early

      December 2020 Nicholas Johnson battered Hannah Stoffel by forcing her to

      engage in nonconsensual sexual conduct.

   243.      Nicholas Johnson used physical force, threats, coercion and deceit to

      penetrate, enter, violate, and touch Hannah Stoffel in a harmful manner without

      her consent.

   244.      As a result of the forgoing Hannah has suffered and continues to suffer

      emotional, economic, and physical damages.

      COUNT VIII: BATTERY (HANNAH STOFFEL v. NICHOLAS JOHNSON)

   245.      Plaintiff re-alleges the preceding paragraphs of this Complaint as if set out

      fully herein.

   246.      On several occasions between July 2019 and the end October 2020

      Nicholas Johnson infused/injected Plaintiff with unknown substances without

      her informed consent.

   247.      Nicholas Johnson lied to Plaintiff that she was receiving the

      infusions/injections as part of a Nike funded study.

   248.      Nicholas Johnson rubbed unknown substances on Hannah Stoffel without

      her consent.

   249.      As a result of the forgoing Hannah has suffered and continues to suffer

      emotional, economic, physical damages.

      COUNT IX: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
              (HANNAH STOFFEL vs. NICHOLAS JOHNSON)




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   250.      Plaintiff incorporates by reference the forgoing paragraphs as if set forth

      herein.

   251.      On several occasions, Nicholas Johnson hugged and massaged the

      Plaintiff with an unknown substance(s) and without her consent.

   252.      On numerous occasions, Nicholas Johnson infused/injected her with an

      unknown substance.

   253.      On numerous occasions, Nicholas Johnson battered the Plaintiff.

   254.      On numerous occasions, Nicholas Johnson raped the Plaintiff.

   255.      Over a period of time, Nicholas Johnson psychologically tortured the

      Plaintiff.

   256.      These actions constitute extreme and outrageous conduct, as his behavior

      goes beyond all possible bounds of decency.

   257.      As a result of these batteries, Hannah continues to suffer extreme

      emotional distress.

       COUNT X: NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
                     (HANNAH STOFFEL vs.
      DEFENDANTS LAUREN JOHNSON, CURTIS HINES, HUNTINGTON
 UNIVERSITY, HUNTINGTON UNIVERSITY BOARD OF TRUSTEES and JOHN
                       DOE DEFENDANTS)

   258.      Plaintiff incorporates by reference the forgoing paragraphs as if set forth

      herein.

   259.      On several occasions, Nicholas Johnson committed multiple batteries and

      rapes against the Plaintiff.




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   260.      Defendants Lauren Johnson, Curtis Hines and Huntington University

      knew or reasonably should have known that Nicholas Johnson was engaging in

      this atrocious behavior.

   261.      Defendants Lauren Johnson, Curtis Hines, Huntington University, the

      Trustees and John Does owed a specific duty to protect their student, Emma

      Wilson.

   262.      All Defendants in this count were teachers, coaches, or administrators

      who owned Hannah Stoffel a duty of reasonable care.

   263.      The Plaintiff was directly physically impacted by their negligence as she

      was battered and raped by Nicholas Johnson.

   264.      As a result of their negligence, Hines, Lauren Johnson and Huntington

      University are the responsible cause for Ms. Stoffel’s emotional distress.

COUNT XI: NEGLIGENCE (HANNAH STOFFEL vs. HUNTINGTON UNIVERSITY,
  HUNTINGTON UNIVERSITY BOARD OF TRUSTEES, LAUREN JOHNSON,
                  CURTIS HINES, and JOHN DOES)

   265.      Plaintiff re-alleges the preceding paragraphs of this Complaint as if set out

      fully herein.

   266.      Huntington University, Huntington University Board of Trustees, Lauren

      Johnson, Curtis Hines, and John Does all knew or should have known that

      Defendant Nicholas Johnson was raping Hannah Stoffel.

   267.      Huntington University, Huntington University Board of Trustees, Lauren

      Johnson, Curtis Hines, and John Does all knew of should have known that




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       Nicholas Johnson was infusing/injecting Hannah Stoffel with unknown

       substances and rubbing unknown substances on Hannah Stoffel.

   268.       Huntington University, Huntington University Board of Trustees, Lauren

       Johnson, Curtis Hines, and John Does all owed a duty to Plaintiff to protect her

       from these batteries when she was a student at Huntington.

   269.       Huntington University, Huntington University Board of Trustees, Lauren

       Johnson, Curtis Hines, and John Does took no action to protect Hannah Stoffel

       from Nicholas Johnson.

   270.       Huntington University, Huntington University Board of Trustees, Lauren

       Johnson, Curtis Hines, and John Does actions or inactions enabled Nicholas

       Johnson to batter Plaintiff.

   271.       As a result of the forgoing Hannah has suffered and continues to suffer

       emotional, economic, physical damages.



                                      PRAYER FOR RELIEF

   WHEREFORE, Plaintiffs Emma Wilson and Hannah Stoffel respectfully pray that

this Court enter judgment against Defendants, awarding compensatory and punitive

damages, attorneys' fees pursuant to 42 U.S.C. § 1988 or any other applicable statute as

well as any other applicable State or Federal law or statute, and for any further relief

this Court deems just.

                                      DEMAND FOR A JURY TRIAL

       Plaintiffs demand a jury on all issues so triable.




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                                   Respectfully Submitted,


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